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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
                                                      Chapter 11
 INT. ASSOC. OF SHEET METAL, AIR,
 RAIL & TRANSPORTATION                                Bankruptcy No. 23-11777-mdc
 WORKERS, TRANSPORTATION DIV.,
 LOCAL 1594,

                                  Debtor.


                       NOTICE OF INTENTION OF THE DEBTOR
                 TO COMPENSATE OFFICERS PURSUANT TO L.B.R. 4002-1

          TO:     ALL CREDITORS AND THE OFFICE OF THE UNITED STATES TRUSTEE,
                  NOTICE IS HEREBY GIVEN:

          1.      On June 16, 2023 (the "Filing Date"), Int. Assoc. of Sheet Metal, Air, Rail &

Transportation Workers, Transportation Div., Local 1594 Company, Inc. (the “Debtor”) filed a

voluntary petition for reorganization under chapter 11 of title 11 of the United States Code, as

amended (the “Bankruptcy Code").

          2.      The Debtor intends to pay compensation to the following officers and insiders on

an annual basis in the following amounts:

               a. Bruce Cheatham (President):                               $9,549.83

               b. Anthony Petty (General Chairman):                         $7,268.58

               c. Micah Cross: (Vice Chairman):                             $4,633.82

               d. Jeneen Hand (Vice Local Chairman):                        $4,633.82

               e. Dwayne Benson (Vice Local Chairman):                      $4,633.82

               f. Cynthia Kelly (Secretary/Treasurer):                      $28,677.67

               g. Princess Flemmings (Trustee):                             $3,918.83



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            h. Michelle Hayward (LCA Secretary)                              $3,097.41

            i. Antione Ray (Trustee):                                        $3,918.00

            j. Clavon Need (Alternate):                                      $2,064.94

       3.      The foregoing amounts are approximations based on what each officer/position was

compensated for during the 2022 fiscal year. Officers are not compensated with a set salary but

are, rather, compensated based on hourly work performed for the Union.

       4.      The rate of annual compensation for each officer and/or insider on the ninetieth

(90th) day prior to the Filing Date was: see paragraph 3.

       5.      The duties and responsibilities of the foregoing officer are as follows:

            a. Bruce Cheatham (President): Signs checks, President of the Union offices, opens

               and closes Union meetings, as Vice Local Chairman, advocates to get members

               their jobs back. Sees that Local officers respond to inquiries from the International

               and files all reports required of Locals by Federal, State or local laws.

            b. Anthony Petty (General Chairman): Head of the Union body, governs the Union

               meetings that are once a month, advocates for members’ jobs, negotiates Collective

               Bargaining Agreement on behalf of the Debtor.

            c. Micah Cross: (Vice Local Chairman): Advocates for members’ jobs, attends Union

               Meetings once a month.

            d. Jeneen Hand (Vice Local Chairman): Advocates for members’ jobs, attends Union

               Meetings once a month.

            e. Dwayne Benson (Vice Local Chairman): Advocates for members’ jobs, attends

               Union Meetings once a month.

            f. Cynthia Kelly (Secretary/Treasurer): Issues checks, manages bank accounts,



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               attends Union meetings, takes meeting minutes, prepares Treasurer’s Annual

               Report. Ms. Kelly will be resigning her position and will be replaced by a

               Secretary/Treasurer who will be compensated similarly.

            g. Princess Flemmings (Trustee): Reviews yearly books, runs polls during an election.

            h. Michelle Hayward (LCA Secretary): Secretary for Local Committee of

               Adjustment, takes notes for contracts.

            i. Antione Ray (Trustee): Reviews yearly books, runs polls during an election.

            j. Clavon Need (Alternate): Alternate for contract negotiations.

       6.      Compensation is paid directly by the Debtor.

       7.      Any creditor or other party in interest seeking to object to the continued

compensation of the above-named individuals should file a written objection specifying the

grounds for such objection with the Clerk's Office, United States Bankruptcy Court, 900 Market

Street, Suite 400, Philadelphia, PA 19107, and serve a copy of said objection upon Counsel for the

Debtor.


                                     Respectfully submitted,

Dated: June 28, 2023                 GELLERT SCALI BUSENKELL & BROWN, LLC

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                                     Proposed Counsel to the Debtor




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